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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    BETTY EAKIN, et al.,                          :
                                                  :
                         Plaintiffs,              :   CIVIL ACTION
                                                  :
                 v.                               :   No. 1:22-cv-00340-SPB
                                                  :
    ADAMS COUNTY BOARD OF                         :
    ELECTIONS, et al.,                            :
                                                  :   ELECTRONICALLY FILED
                         Defendants.              :


              BERKS COUNTY BOARD OF ELECTIONS’ SUPPLEMENTAL
             BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

         Pursuant to the Court’s May 16, 2024 lifting the stay of this action (doc. 375), defendant

Berks County Board of Elections (“Berks County”) reasserts its previous motion for summary

judgment (doc. 286) and submits this supplemental brief in support of its motion for summary

judgment on Plaintiffs’ remaining claims. 1 For the reasons stated previously and the additional

reasons below, the Court should grant summary judgment in favor of Berks County and against

Plaintiffs and dismiss with prejudice all of Plaintiffs’ claims against Berks County.




1
   Berks County previously joined in and incorporated by reference the prior summary judgment
motion and supporting brief and concise statement of material facts filed by Defendant Lancaster
County Board of Elections (“Lancaster County”) (doc. 280, 284, 300). Berks County and
Lancaster County previously filed responses and briefs in opposition to Plaintiffs’ motion for
summary judgment (doc. 306, 311, 323, 324, 358). All of the facts and arguments in these prior
filings relating to Plaintiffs’ claims against Berks County are reasserted and incorporated by
reference herein to the extent they are still applicable. In addition to joining Lancaster County’s
arguments in favor of dismissing Plaintiffs’ claims in this action, Plaintiffs also join and
incorporate by reference any additional argument asserted by other defendant county boards of
elections or Intervenor-Defendants in favor of dismissing Plaintiffs’ claims in this action to the
extent they apply to Berks County.

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       I.      Factual and procedural history.

       On November 21, 2023, while cross-motions for summary judgment were pending, the

Court stayed this action in light of its Order in the related case of Pennsylvania State Conf. of

NAACP Branches v. Sec’y Commonwealth of Pennsylvania 1:22-cv-339-SPB (“Case 339”),

granting summary declaratory judgment in favor of Plaintiffs on their claim that enforcing the

challenged Date Requirement violates the Materiality Provision of the federal civil rights act,

52 U.S.C. §10101(a)(2)(B) (Amended Complaint Count I), without reaching summary judgment

on Plaintiffs’ Equal Protection claim (Amended Complaint Count II). (Order, Case 339 doc. 348

at 4-5; Opinion, Case 339 doc. 347 at 74-76).

       On appeal, the United States Court of Appeals for the Third Circuit reversed the Court’s

Order granting Plaintiffs’ summary judgment on their Materiality Provision claim (Case 339

doc. 348), and remanded Case 339 to this Court for further action on Plaintiffs’ remaining

constitutional claims.

       On May 16, 2024, shortly after Third Circuit’s mandate was docketed in Case 339, the

Court issued an Order in this case (doc. 375) lifting the stay and permitting the parties to

supplement their respective summary judgment motions.

       II.     Plaintiffs do not have standing to sue Berks County.

       In its November 21, 2023 Order in Case 339, this Court granted in part and denied in part

Berks County’s motion for summary judgment after concluding that none of the individual

plaintiffs, and all but a few organizational plaintiffs had standing to assert claims against Berks

County. (Order, Case 339 doc. 348 at 5.)

       Applying the same standing analysis here, the Court should conclude that the only

individual plaintiff, Betty Eakin, who is an Erie County-registered voter (Am. Complaint,

doc. 228 ¶ 12), failed to establish standing to sue Berks County in this action. Similarly, the

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organizational plaintiffs, DSCC (id. ¶ 13), DCCC (id. ¶ 14), and AFT Pennsylvania (id. ¶ 15),

cannot establish they took sufficient action or expended funds in Berks County, or sustained

injuries caused by Berks County, which has merely followed the law as set forth in

Pennsylvania’s Election Code, and binding interpretive caselaw, see Ball v. Chapman, 289 Pa. 1

(Pa. 2023). Because none of the Defendants have standing to pursue claims against Berks

County, the Court should dismiss with prejudice all claims against Berks County in this action.

         III.   Plaintiffs’ Materiality Provision claim must be dismissed with
                prejudice based on the Third Circuit’s recent precedential decision
                reversing this Court’s Order granting summary judgment on
                Plaintiffs’ identical Materiality Provision claim in Case 339.

         Count I of Plaintiffs’ Amended Complaint (doc. 228) claims the Pennsylvania Election

Code’s requirement that voters hand-write the correct date on the voter declaration on the outer

envelope enclosing their absentee or mail-in ballots (the “Date Requirement”) violates the

Materiality Provision of the federal civil rights act, 52 U.S.C. § 10101(a)(2)(B). Plaintiffs in

Case 339 asserted the identical claim. On appeal, in a precedential decision, the Third Circuit

reversed this Court’s November 21, 2023 Order in Case 339 granting Plaintiffs’ summary

judgment motion on their Materiality Provision claim (Case 339 doc. 348), holding the

challenged Date Requirement is a vote-casting rule—not a voter qualification rule—that is not

covered by and thus does not violate, the Materiality Provision. Pennsylvania State Conf. of

NAACP Branches v. Sec’y Commonwealth of Pennsylvania, 97 F.4th 120, 131, 138-139 (3d Cir.

2024).

         This precedential Third Circuit decision is binding on this Court’s analysis of Plaintiffs’

identical Materiality Provision claim in this case. Jakomas v. City of Pittsburgh, 342 F. Supp.3d

632, 647 (W.D. Pa. 2018) (“This Court is, of course, bound by the precedential decisions of the

Third Circuit.”) (citing Cyclops Corp. v. United States, 408 F. Supp. 1287, 1291 (W.D. Pa. 1976)


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(“The decisions of the United States Courts of Appeals, of course, are binding upon the District

Courts within such Circuit.”)); A.A. ex rel. E.A. v. Exeter Twp. Sch. Dist., 485 F. Supp. 2d 587,

591 (E.D. Pa. 2007) (“It is axiomatic that a district court is bound to apply its appellate court’s

precedent.”) (citing Poulis v. State Farm Fire and Cas. Co., 747 F.2d 863, 867 (3d Cir. 1984)

(the hierarchical nature of the federal judiciary compels district court judges to apply

precedential decisions of their designated court of appeals regardless of their personal views as to

the merits of those decisions).

        Accordingly, the Court should grant summary judgment in favor of Berks County and the

other defendants and dismiss with prejudice Plaintiffs’ Materiality Provision claim in Count I.

        IV.     Plaintiffs failed to comply with Fed. R. Civ. P. 5.1 requiring notice to
                the Pennsylvania Attorney General of their constitutional challenge to
                the Date Requirement.

        Plaintiffs’ remaining claim in Count II of their Amended Complaint (doc. 228 ¶¶ 41-49)

challenges the constitutionality of the Pennsylvania Election Code’s Date Requirement. Rule 5.1

of the Federal Rules of Civil Procedure requires any party that files a pleading, written motion,

or other paper drawing into question the constitutionality of a federal or state statute to promptly

file a notice of constitutional question stating the question and identifying the paper that raises if,

in the event a state statute is challenged, the parties do not include the state, one of its agencies,

or one of its officers or employees in an official capacity. Fed. R. Civ. P. 5.1(a)(1)(B). If a state

statute is questioned, the party must serve the notice and paper on the state attorney general

either by certified or registered mail or by sending it to an electronic address designated by the

attorney general for that purpose. Fed. R. Civ. P. 5.1(a)(2).




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         Additionally, the Court must, under 28 U.S.C. § 2403, 2 certify to the appropriate attorney

general that a statute has been questioned. Fed. R. Civ. P. 5.1(b). Unless the court sets a later

time, the attorney general may intervene within 60 days after the notice is filed or after the court

certifies the challenge, whichever is earlier. Fed. R. Civ. P. 5.1(c). Before the time to intervene

expires, the court may reject the constitutional challenge, but may not enter a final judgment

holding the statute unconstitutional. Id. (emphasis added).

         The purpose of Rule 5.1’s requirement to notify state attorneys general of constitutional

challenges to their state statutes is obvious. Under Section 204(a)(3) of the Commonwealth

Attorneys Act, the Pennsylvania Attorney General has a duty “to uphold and defend the

constitutionality of all statutes so as to prevent their suspension or abrogation in the absence of a

controlling decision by a court of competent jurisdiction.” Act of Oct. 15, 1980, P.L. 950,

No. 164, § 204(a)(3). Consistent with that duty, in Case 339, the Commonwealth of

Pennsylvania defendants—Secretary of the Commonwealth Al Schmidt and the Pa. Department



2
    28 U.S.C. § 2403(b), which applies to challenges to state statutes, states:

         (b) In any action, suit, or proceeding in a court of the United States to which a
         State or any agency, officer, or employee thereof is not a party, wherein the
         constitutionality of any statute of that State affecting the public interest is drawn
         in question, the court shall certify such fact to the attorney general of the State,
         and shall permit the State to intervene for presentation of evidence, if evidence is
         otherwise admissible in the case, and for argument on the question of
         constitutionality. The State shall, subject to the applicable provisions of law, have
         all the rights of a party and be subject to all liabilities of a party as to court costs
         to the extent necessary for a proper presentation of the facts and law relating to
         the question of constitutionality.

Rule 5.1 goes beyond the requirements of 28 U.S.C. § 2403 by requiring notice and
certification of a constitutional challenge to any federal or state statute, not only those
“affecting the public interest.” See Fed. R. Civ. P. 5.1 (Committee Notes – 2006). Here,
the challenged Date Requirement involves the state rules for casting votes by absentee or
mail-in ballots, which affects the public interest.

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of State—who represented by Pennsylvania’s Office of Attorney General and Office of General

Counsel, have argued the Date Requirement is constitutional.

       In this case, unlike Case 339, the Commonwealth of Pennsylvania, one of its agencies, or

one of its officers or employees in an official capacity, are not parties. Because Count II of

Plaintiffs’ Amended Complaint asserts the Pennsylvania’s Election Code’s Date Requirement

violates the First and Fourteenth Amendments (doc. 248 ¶¶ 41-49), Rule 5.1 applies to Plaintiffs.

As far as Berks County can tell based on a review of this case’s docket, Plaintiffs have not

complied with their obligations under Fed. R. Civ. P. 5.1 to file notice of their constitutional

challenge of the Date Requirement, and serve notice on the Pennsylvania Attorney General of

this constitutional challenge so the Attorney General can intervene. Therefore, the Court may

reject Plaintiffs’ constitutional challenge, but may not enter a final judgment holding the Date

Requirement unconstitutional until the Pennsylvania Attorney General has an opportunity to

intervene and defend the constitutionality of the challenged Date Requirement. A few county

boards of elections should not be the sole defenders of the constitutionality of the Pennsylvania

Election Code.

       V.        On the merits, mandatory application of the Date Requirement does
                 not violate the United States Constitution.

       The provision of the Election Code at issue—the Date Requirement—requires the

electors’ declaration on outer envelope of their absentee or mail-in ballot to be both signed and

dated. That declaration is returned to the electors’ county board of elections with their mail-in or

absentee ballot. The additional burden on voters of writing the correct date on their declarations

after signing them is minimal or non-existent.

       As a threshold matter, regulation of absentee and mail-in voting such as the Date

Requirement does not implicate “fundamental rights.” Biener v. Calio, 361 F.3d 206, 214 (3d


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Cir. 2004). There is no federal constitutional right to vote by absentee or mail-in ballot. Mays v.

LaRose, 951 F.3d 775, 792 (6th Cir. 2020); Tully v. Okeson, 977 F.3d 608, 611 (7th Cir. 2020);

Texas Democratic Party v. Abbott, 961 F.3d 389, 406 (5th Cir. 2020); see also McDonald v.

Board of Election Comm’rs, 394 U.S. 802, 807 (1969) (“[A]bsentee statutes, which are designed

to make voting more available to some groups who cannot easily get to the polls, do not

themselves deny . . . the exercise of the franchise.”). Thus, the Anderson-Burdick framework

Plaintiffs seek to invoke is inapplicable. See Mazo v. N.J. Sec’y of State, 54 F.4th 124, 137 (3d

Cir. 2022).

       Instead, rational basis scrutiny applies. See McDonald, 394 U.S. at 809. For the reasons

explained below, the Date Requirement is constitutional under that test because it “bear[s] some

rational relationship to a legitimate state end.” Id.

       Even applying the Anderson-Burdick framework, the Date Requirement is constitutional.

Anderson-Burdick, when it applies, requires courts to weigh the character and magnitude of the

burden, if any, imposed by the law on protected rights against the state’s interests in and

justifications for the law. Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 189-91 (2008)

(Opinion of Stevens, J.). “Regulations imposing severe burdens on plaintiffs’ rights must be

narrowly tailored and advance a compelling state interest,” while those imposing “[l]esser

burdens … trigger less exacting review, and [the] State’s important regulatory interests will

usually be enough to justify reasonable, nondiscriminatory restrictions.” Timmons v. Twin Cty.

Area New Party, 520 U.S. 351, 358-59 (1997).




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               A.      The date requirement is constitutional because it
                       imposes no more than the usual burdens of voting and
                       is amply justified by the State’s interests in protecting
                       the integrity of its elections.

       Even if Plaintiffs satisfy the above requirements, the commonsense Date Requirement’s

“burdens” are too light and its justifications too reasonable to violate the Constitution. The U.S.

Supreme Court’s decision in Crawford demonstrates as much. The plaintiffs in that case claimed

that an Indiana law requiring in-person voters to present a photo ID imposed an unconstitutional

burden under the Anderson-Burdick framework. See 553 U.S. at 185 (Opinion of Stevens, J.).

The Supreme Court noted that because the plaintiffs brought a facial challenge “that would

invalidate the statute in all its applications, they bear a heavy burden of persuasion.” Id. at 200.

The plaintiffs, however, did not introduce “evidence of a single, individual Indiana resident who

[would] be unable to vote” under the challenged law. Id. at 187 (internal quotation marks

omitted). The Supreme Court ultimately held the plaintiffs had failed to carry that burden and

rejected their claim. See id. at 200-04.

       The Supreme Court analyzed the character and magnitude of the burden imposed by the

photo ID requirement. See id. at 198. The Supreme Court recognized that the law placed some

burden on voters, particularly voters who lacked a photo ID. See id. The Supreme Court noted

that voters who did not already have a photo ID must bear “the inconvenience of making a trip to

the [Bureau of Motor Vehicles], gathering the required documents, and posing for a photograph.”

Id. The Supreme Court concluded, however, that such inconvenience “surely does not qualify as

a substantial burden on the right to vote, or even represent a significant increase over the usual

burdens of voting.” Id.

       The Supreme Court also addressed the state’s asserted interests in adopting the photo ID




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requirement—“deterring and detecting voter fraud,” “moderniz[ing] election procedures,” and

“safeguarding voter confidence.” Id. at 191. The Supreme Court concluded that those interests

were “legitimate” and that the photo ID requirement “is unquestionably relevant to the state’s

interest in protecting the integrity and reliability of the election process.” Id. Accordingly, the

Supreme Court held that the plaintiffs’ unconstitutional burden claim failed. See id. at 200-04.

        Plaintiffs’ unconstitutional burden claim likewise fails because the Date Requirement

imposes no more than the “usual burdens of voting.” Id. at 198. Plaintiffs concede that the

signature requirement is constitutional. The fact that Plaintiffs (in this case and Case 339) have

not contested the constitutionality of the signature requirement demonstrates the Date

Requirement is similarly lawful.

        Signing one’s name is at least as “burdensome” as writing the date the declaration is

signed. If the signature requirement is valid and not unconstitutionally burdensome, then so too

is the Date Requirement. It cannot be a significant burden to require voters to write a date on the

same declaration they are required to sign. Moreover, any burden in writing the date is a lesser

burden than “[h]aving to identify one’s own polling place and then travel there to vote,” which

“does not exceed the usual burdens of voting.” Brnovich v. Democratic Nat’l Committee, 594

U.S. 647, 676 (2021) (internal quotation marks omitted). And signing one’s name and dating the

voter declarations are certainly less onerous than “the inconvenience of making the trip to the

[Bureau of Motor Vehicles], gathering the required documents, and posing for a photograph,”

which was upheld as minimal and constitutional in Crawford, 553 U.S. at 198 (Opinion of

Stevens, J.).

        The Date Requirement advances “legitimate” and “unquestionably relevant” state

interests related to “protecting the integrity and reliability of the election process.” Id. at 191.



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The Date Requirement serves several weighty interests and an “unquestionable purpose.” In re

Canvass of Absentee and Mail-In Ballots of Nov. 3, 2020 Gen. Election (“In re 2020 Canvass”)

241 A.3d at 1090 (Opinion of Justice Dougherty, Chief Justice Saylor, and Justice Mundy); see

also id. at 1087 (Opinion of Justice Wecht) (“colorable arguments . . . suggest [the Date

Requirement’s] importance”).

       First, the Date Requirement advances the Commonwealth’s interests in “deterring and

detecting voter fraud” and “protecting the integrity and reliability of the electoral process.”

Crawford, 553 U.S. at 191 (Opinion of Stevens, J.); see also Eu v. San Francisco Cnty.

Democratic Cent. Comm., 489 U.S. 214, 231 (1989); In re 2020 Canvass, 241 A.3d at 1091

(Opinion of Justice Dougherty, Chief Justice Saylor, and Justice Mundy). “And it should go

without saying that a State may take action to prevent election fraud without waiting for it to

occur and be detected within its own borders.” Brnovich, 594 U.S. at 686.

       The Date Requirement’s advancement of the Commonwealth’s interest in preventing

fraud is actual, not hypothetical. Two years ago, the Date Requirement was used to detect a

Lancaster County woman’s forgery and fraudulent submission of her deceased mother’s mail-in

ballot, leading to her guilty plea and sentencing on January 20, 2023 of two years of probation

and forfeiture of her voting rights for four years. See Commonwealth v. Mihaliak, CP-36-CR-

0003315-2022 (Lancaster Cty. Jan. 20, 2022). Because current Pennsylvania Supreme Court

precedent precludes county boards of elections from comparing signatures on ballot envelopes

with those in the official record, the only evidence of third-party fraud on the face of the

fraudulent ballot in Mihaliak was the handwritten date of April 26, 2022, which was twelve days

after the decedent had passed away. See id. This example shows the Date Requirement




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effectively serves—at a minimum—the Commonwealth’s legitimate interest in preventing

election fraud.

        Second, the Date Requirement serves the State’s interest in solemnity—i.e., in ensuring

that voters “contemplate their choices” and “reach considered decisions about their government

and laws.” Minnesota Voters Alliance v. Mansky, 138 S. Ct. 1876, 1887-88 (U.S. 2018);

Tashjian v. Republican Party, 479 U.S. 208, 221-22 (1986) (state has “legitimate interests” in

“providing for educated and responsible voter decisions.”). The formalities that attend voting—

namely, that the “elector shall then fill out, date and sign the declaration printed,” 25 P.S. §

3146.6(a) (emphasis added); § 3150.16(a)—encourage such deliberation, see Ball, 289 A.3d at

10 (the date “provides proof of when the elector actually executed the ballot in full, ensuring

their desire to cast it in lieu of appearing in person at the polling place”).

        “Signature requirements have long been recognized as fulfilling cautionary functions in

protecting an individual’s rights.” State v. Williams, 565 N.E.2d 563, 565 (Ohio 1991).

Formalities like signing and dating requirements serve the “cautionary function” by “impressing

the parties with the significance of their acts and their resultant obligations.” See Davis G N

Mortg. Corp., 244 F. Supp. 2d 950, 956 (N.D. Ill. 2003). These formalities “guard[] against

ill-considered action,” Thomas A. Armbruster, Inc. v. Barron, 491 A.2d 882, 883-84 (Pa. Super.

Ct. 1985), and the absence of formalities “prevent[s] . . . parties from exercising the caution

demanded by a situation in which each ha[s] significant rights at stake,” Thatcher’s Drug

Store v. Consol. Supermarkets, 636 A.2d 156, 161 (Pa. 1994). Traditional signing and dating

requirements help people “to appreciate the seriousness of their actions,” id., and for that reason

are required in a range of instruments, including “wills” and “transfer[s] of real property,”

Williams, 565 N.E.2d at 565.



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       Pennsylvania can require its citizens to exercise the same caution when engaging in the

solemn civic exercise of voting. “Casting a vote is a weighty civic act, akin to a jury’s return of

a verdict, or a representative’s vote on a piece of legislation.” Minnesota Voters Alliance, 138

S. Ct. at 1888. If states can require the formalities of signing and dating for wills and property

transactions, they can do the same for voting. The Election Code’s Date Requirement is

inextricably intertwined with the signature requirement. Together they focus voters “on the

important decisions immediately at hand.” Id. Indeed, everyday experience confirms that

signatures are frequently accompanied by dates—to name an easy example, on checks.

       Pennsylvania law often pairs signature and date requirements in its statutes. 3 Similarly,

forms set forth in Pennsylvania statutes that provide spaces for both a signature and a date are

too numerous to list here. A few examples include 57 Pa. C.S.A. § 316 (short form certificates

of notarial acts); 23 Pa. C.S.A. § 5331 (parenting plan); 73 P.S. § 201-7(j.1)(iii)(3)(ii)

(emergency work authorization form); 42 Pa. C.S.A. § 8316.2(b) (childhood sexual abuse

settlement form); 73 P.S. § 2186(c) (cancellation form for certain contracts). It thus makes no

sense to analyze the signature requirement and the date requirement separately—they appear in

the same statutory clause, govern the same document, and together perform a cautionary

function.



3
  See, e.g., 75 Pa. C.S.A. § 1731(c.1) (form rejecting uninsured motorist protection “must be
signed by the first named insured and dated to be valid”); id. § 1738(e) (form rejecting stacked
limits of underinsured motorist coverage “must be signed by the first named insured and dated to
be valid”); 62 P.S. § 1407-C(c)(1) (“In order to decline participation in the health information
exchange, a patient must sign and date a form declining participation.”); 20 Pa. C.S.A. § 5484(c),
(d) (requiring “dated signature of the attending physician” on DNR bracelets and necklaces); 35
Pa. C.S.A. § 5203(b)(2) (“The patient executing and filing a voluntary nonopioid directive form
with a practitioner shall sign and date the form.”); 73 P.S. § 517.7(d)(4) (arbitration clause “shall
not be effective unless both parties have assented as evidenced by signature and date, which shall
be the date on which the contract was executed”); 35 Pa. C.S.A. § 52B02(b)(4) (“The treatment
                                                     (Text of footnote continued on next page . . .)
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       How can a voter be held accountable for a false declaration stating, among other things,

“I have not already voted in this election,” unless the voter’s declaration is both signed and

dated? It is not onerous or unusual to legally require a declarant to sign and date a declaration or

affidavit stating certain facts are true. Pennsylvania’s statute on unsworn declarations,

42 Pa. C.S.A. § 6206, requires both signature and dating, as follows:

       § 6206. Form of unsworn declaration.

       An unsworn declaration under this chapter must be in substantially the following form:

               I declare under penalty of perjury under the law of the Commonwealth of
               Pennsylvania that the foregoing is true and correct.

               Signed on the........day of........,........,
               at............................................,
               (date)........(month)...........(year).........
               (county or other location, and state)............
               ...............................................
               (country)..................................
               (printed name).............................
               (signature)................................

       Federal law provides another example of such a requirement. 28 U.S.C. § 1746 provides

that when any matter is required or permitted to be supported, evidenced, established, or proved

by a sworn written declaration, verification, certificate, statement, oath or affidavit, an unsworn

declaration, verification, certificate, statement, oath or affidavit may be provided instead, with

like force and effect, to support, evidence, establish or prove the matter at issue, as long as the

unsworn declaration is in a writing that is subscribed to be true under penalty of perjury, and

dated, in a specified form (depending on whether it is executed within or without the United

States, its territories, possessions, or commonwealths).




agreement form under subsection (a)(3) shall … include … [t]he signature of the individual and
the date of signing.”).

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       Regardless of where it is executed, both forms require the declarant to provide the date on

which the declaration is executed:

       (1)     If executed without the United States: “I declare (or certify, verify, or
       state) under penalty of perjury under the laws of the United States of America
       that the foregoing is true and correct. Executed on (date).
       (Signature)”.

       (2)     If executed within the United States, its territories, possessions, or
       commonwealths: “I declare (or certify, verify, or state) under penalty of perjury
       that the foregoing is true and correct. Executed on (date).
       (Signature)”.

See 28 U.S.C. § 1746.

       Third, the Date Requirement advances the State’s interest in “safeguarding voter

confidence” in Pennsylvania elections. Crawford, 553 U.S. at 191 (Opinion of Stevens, J.).

Pennsylvania law has long imposed the Date Requirement, which encourages “citizen

participation in the voting process” by ensuring voters that Pennsylvania elections are free, fair,

trustworthy, and untainted by fraud, Crawford, 553 U.S. at 197 (Opinion of Stevens, J.).

       Because the Date Requirement imposes a minimal burden on voting and effectively

furthers several weighty Commonwealth interests such as protecting the integrity and reliability

of the election process the Election Code’s Date Requirement does is constitutional, and thus

Plaintiffs’ proposed amendment is futile.

               B.       Plaintiffs have not met their burden of showing the
                        alleged constitutional violations resulted from Berks
                        County’s customs, practices or policies.

       Additionally, Plaintiffs have not demonstrated, as required, that the alleged violation of

the First and Fourteenth Amendment is based on Berks County’s customs, practices or policies.

Colburn v. Upper Darby Township, 946 F.2d 1017, 1027 (3d Cir. 1991) (“In a § 1983 claim

against a local government unit, liability attaches when it is the government unit’s policy or

custom itself that violates the Constitution.”) Because Plaintiffs’ constitutional claim is based on

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Pennsylvania law—and not any custom, practice or policy of Berks County, which is bound to

follow Pennsylvania law and binding interpreting caselaw 4—Plaintiffs’ First and Fourth

Amendment claim against Berks County fails for this additional independent reason.

       VI.     Conclusion.

       For the reasons set forth above and elsewhere, the Court should grant summary judgment

in favor of Berks County and against Plaintiffs and dismiss all of Plaintiffs’ claims against Berks

County.

                                                     Respectfully submitted,

Dated: June 5, 2024                                  SMITH BUKOWSKI, LLC

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4
  See Ball v. Chapman (102 MM 2022), 289 Pa. 1, 28 (Pa. 2023) (“The Election Code
commands absentee and mail-in electors to date the declaration that appears upon ballot return
envelopes, and failure to comply with that command renders a ballot invalid as a matter of
Pennsylvania law.”) Because of the timing, the Pennsylvania Supreme Court in Ball v. Chapman
issued an Order dated November 1, 2022 and a supplemental Order dated November 5, 2022.
The Supreme Court’s November 1, 2022 Order said, “The Pennsylvania county boards of
elections are hereby ORDERED to refrain from counting any absentee and mail-in ballots
received for the November 8, 2022 general election that are contained in undated or incorrectly
dated outer envelopes.” The Court’s November 5, 2022 supplemental Order defined, for
purposes of the November 8, 2022 general election, “incorrectly dated outer envelopes” as
“(1) mail-in ballot outer envelopes with dates that fall outside the date range of September 19,
2022, through November 8, 2022; and (2) absentee ballot outer envelopes with dates that fall
outside the date range of August 30, 2022, through November 8, 2022.” Pursuant to these
Orders and the Court’s Majority Opinion issued February 8, 2023, the county boards of elections
are required by law to set aside and not count domestic absentee and mail-in ballots “contained
in undated or incorrectly dated outer envelopes.”

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